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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 10-20410-CR-LENARD/TURNOFF

  UNITED STATES OF AMERICA,

                       Plaintiff,
  vs.

  RAHMIN JEFFERSON,

                   Defendant.
  ________________________________/

              ORDER DENYING DEFENDANT RAHMIN JEFFERSON’S
                         MOTION SEVER (D.E. 681)

         THIS CAUSE is before the Court on Defendant Rahmin Jefferson’s Motion to

  Sever (D.E. 681), filed on April 8, 2011. The Government filed its Response in

  Opposition (D.E. 695) on April 15, 2011. Upon review of the Motion, Response and the

  record, the Court finds as follows.

  I.     Background

         Defendant Rahmin Jefferson is one of fifteen defendants being prosecuted on

  charges arising from an alleged narcotics distribution ring based out of Miami Gardens.

  The Superseding Indictment (D.E. 462) charges Jefferson with conspiracy to possess with

  intent to sell crack, cocaine, marijuana and MDMA (Count 1), possession of a firearm

  and ammunition by a convicted felon (Count 5) and possession of a firearm in furtherance

  of a drug trafficking crime (Counts 8 and 9).

         Jefferson now moves this Court to sever his trial from that of his remaining co-

  defendants pursuant to Federal Rules of Criminal Procedure 8(b) and 14. (Mot. at 1.) He
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  argues that the conduct charged in Counts 5, 8 and 9 falls outside of the conspiracy

  charged in Count 1. (Id. at 6.) He also contends that he was initially stopped after

  leaving a co-defendant’s house based on information obtained through a wiretap. (Id. at

  2.) He claims that neither his name nor any references to him will be found in the cache

  of taped phone calls collected by investigators. (Id. at 3.) Thus, subjecting Jefferson to a

  lengthy trial with numerous charges and voluminous evidence against multiple defendants

  may cause jurors confusion and make it unreasonably difficult for them to attribute

  individual actions and charges to each defendant . (Id. at 4.)

         Jefferson further argues that he is prejudiced because he is currently incarcerated

  and awaiting the joint trial (he is ready for trial now) and his privately retained counsel

  will not be able to effectively represent him at a joint trial. (Id. at 5.)

         The Government, in its Response, opposes severance. It argues that Jefferson is

  properly joined with all co-defendants in the Superseding Indictment and for trial because

  the charges against him occurred in furtherance of the conspiracy and within its temporal

  bounds. (Resp. at 5.) The Government also rebuts Jefferson’s fears of a prejudicial

  spillover in evidence by indicating that the evidence against him is compelling, unique

  and not overly complex. (Id. at 6-8.) Any prejudice resulting from juror confusion may

  be adequately reduced with limiting instructions. (Id. at 8.) Finally, judicial economy

  would not be served by severance as most of the evidence that will be presented at a joint

  trial would also be presented at Jefferson’s trial. (Id. at 9.)

  II.    Discussion


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         The Court must undertake a two-step inquiry to determine whether Jefferson’s

  Motion for Severance should be granted. First, the government bears the burden to show

  that joinder is proper under Federal Rule of Criminal Procedure 8. United States v.

  Gabay, 923 F.2d 1536, 1539 (11th Cir. 1991). If it is, the Court then must consider

  whether it should exercise its discretion to sever offenses in order to avoid prejudice to a

  defendant or the government. Id. (citing United States v. Montes-Cardenas, 746 F.2d

  771, 776 (11th Cir. 1984)).

         Federal Rule of Criminal Procedure 8(b) governs the joinder of defendants,

  providing in part: “The indictment or information may charge 2 or more defendants if

  they are alleged to have participated in the same act or transaction, or in the same series

  of acts or transactions, constituting an offense or offenses.” Fed.R.Crim.P. 8(a). Courts

  broadly construe this Rule in favor of joinder. United States v. Dominguez, 226 F.3d

  1235, 1238 (11th Cir. 2000). Defendants charged with participating in the same offenses

  are ordinarily tried together, even if the evidence is stronger against some than against

  others. See United States v. Francis, 131 F.3d 1452, 1459 (11th Cir. 1997); United States

  v. Velasquez, 772 F.2d 1348, 1352 (7th Cir. 1985) (noting that the danger of prejudice to

  the least guilty or the prejudice from confusion in a multi-defendant trial is almost always

  outweighed by the economies of a single trial). Joinder is proper when “the facts

  underlying each offense are so closely connected that proof of such facts is necessary to

  establish each offense.” United States v. Weaver, 905 F.2d 1466, 1477 (11th Cir. 1990).

  Notwithstanding this principle, it is not required that every defendant be involved in every


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  phase of the criminal enterprise or even know the identities and roles of the other

  participants. United States v. Wilson, 894 F.2d 1245, 1252-53 (11th Cir. 1990).

         As an initial matter, the Court notes that Jefferson’s charged offenses (Counts 5, 8

  and 9) occurred during the time period of the charged conspiracy (Count 1), which

  spanned May 2009 through June 3, 2010. (See Superseding Indictment at 2-7.) Because

  Jefferson possessed a firearm in furtherance of the ongoing drug trafficking conspiracy

  and was a convicted felon at the time, all four counts against him are properly joined. See

  also United States v. Gentile, 495 F.2d 626, 632 (5th Cir. 1974) (Fifth Circuit found

  improper joinder where charged acts in furtherance of a conspiracy occurred outside of

  the time frame of the alleged conspiracy). Jefferson is also properly subject to trial

  involving all of his co-defendants’ charged crimes including, inter alia, possession of

  fraudulent identification documents, as these offenses were committed with the purpose

  of funding, and therefore furthering, the drug trafficking conspiracy. See Dominguez, 226

  F.3d at 1241.

         Under Federal Rule of Criminal Procedure 14, the Court may consider severing the

  trials of multiple defendants where “there is a serious risk that a joint trial would

  compromise a specific trial right of one of the defendants or prevent the jury from making

  a reliable judgment about guilt or innocence. Zafiro v. United States, 506 U.S. 534, 539

  (1993). An example of such a risk is the admission of evidence against a defendant that

  would not be otherwise admitted in a severed trial. See id. Jefferson points to the

  potential of evidence to be admitted at joint trial that would have no relevancy to the four


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  charges against him but would be admissible as relevant on one of the combined forty-

  two additional charges against his co-defendants. He claims this evidential spillover

  effect will be highly prejudicial.

         Jefferson bears the heavy burden to show that a jury will be unable, due to the

  massive amount and complex nature of the evidence, to make an individualized guilt

  determination for each defendant. Francis, 131 F.3d at 1459 (citing United States v.

  Saget, 991 F.2d 702, 707 (11th Cir. 1993)). His fears of spillover and juror confusion are

  common in cases involving conspiracies and multiple defendants. Cf. id. However, his

  conclusory allegations cannot carry the burden to show compelling prejudice. Id. (citing

  United States v. Hogan, 986 F.2d 1364, 1375 (11th Cir. 1993).

         Here, the Government proffers that the evidence as to Jefferson’s participation in

  the alleged drug trafficking operation will be substantial, specific to his role in the

  conspiracy on September 16, 2009, and not of such a complex nature that the jury will be

  unable to comprehend it. (Resp. at 7-8.) Moreover, the presumption exists that

  cautionary instructions to the jury will guard adequately against any prejudice arising

  from the joint trial. United States v. Gonzalez, 940 F.2d 1413, 1428 (11th Cir. 1991);

  Francis, 131 F.3d at 1459 (affirming district court’s denial of motion to sever). Here, the

  Court may give the jury limiting instructions, advising them to consider evidence solely

  for the purpose for which it is being introduced and only against those defendants against

  whom it is being offered. See United States v. Kopituk, 690 F.2d 1289, 1320 (11th Cir.

  1982) (a curative instruction from the court is “the most efficacious tool to protect


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  against” the danger of spillover).; United States v. Jiminez, 983 F.2d 1020, 1023 (11th

  Cir. 1993) (the district court judge eliminated possibility of reversible error by issuing

  limiting instructions).

         Finally, the Court “must balance the right of the defendant to a fair trial against the

  public’s interest in the efficient and economic administration of justice.” United States v.

  Baker, 432 F.3d 1189, 1236 (11th Cir. 2005). Jefferson offers no legal support and the

  Court is not aware of any law that requires it to take into account his pre-trial

  incarceration as a factor in this analysis.1

         Accordingly, the Court finds that Jefferson has not adequately shown compelling

  prejudice nor that his right to fair trial2 would be significantly impinged such that the

  public’s interest in efficiency and judicial economy would be outweighed under Rule 14.

  For these reasons, his Motion to Sever must be denied.

         Consistent with the foregoing, it is ORDERED AND ADJUDGED Defendant

  Rahmin Jefferson’s Motion to Sever (D.E. 681), filed on April 8, 2011, is DENIED.




         1
                 Jefferson had been out on pre-trial bond from approximately July 28, 2010
  through January 7, 2011. The reason for his revocation of bond and consequent incarceration
  appears to be Jefferson’s violation of the terms of his pre-trial release and the revocation of his
  bond by a co-signor.
         2
                  Jefferson does not elaborate on his claim that his counsel would be unable to
  effectively represent him at joint trial and has provided no legal basis on why the Court should
  consider this factor in the Rule 14 balance.

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        DONE AND ORDERED in Chambers at Miami, Florida, this 29th day of

  August, 2011.



                                                  JOAN A. LENARD
                                            UNITED STATES DISTRICT JUDGE




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